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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Justin S. Harris,                   )
                                    )     ORDER GRANTING DEFENDANT’S
            Plaintiff,              )     MOTION FOR SUMMARY JUDGMENT
                                    )
      vs.                           )
                                    )
BNSF Railway Company,               )     Case No. 4:15-cv-81
                                    )
            Defendant.              )
______________________________________________________________________________

       Before the Court is the Defendant BNSF Railway Company’s “Motion for Summary

Judgment” filed on September 15, 2015. See Docket No. 30. Plaintiff Justin Harris filed a response

in opposition to the motion on October 16, 2015. See Docket No. 32. BNSF Railway Company

filed a reply brief on October 30, 2015. See Docket No. 33. For the reasons set forth below, the

motion for summary judgment is granted.



I.     BACKGROUND

       Justin Harris filed suit against BNSF Railway Company (“BNSF”) under the Americans with

Disabilities Act (“ADA”), 42 U.S.C. 1210 et seq., as amended by the ADA Amendments Act of

2008 (“ADAAA”), for discriminatory hiring practices on the basis of disability. Harris, a Montana

resident, applied on-line for a conductor trainee position with BNSF to be located in Minot, North

Dakota. Harris met BNSF’s employment screening criteria, interviewed for the job, and received

an offer of employment on August 23, 2012. Harris also passed BNSF’s post-offer medical

screening, including blood tests, drug tests, medical questionnaire, and physical performance test

on August 30, 2012. Based upon this screening, Harris had a body-mass index (“BMI”) of 41.9,

calculated from his height (6'0") and weight (309 pounds). According to BNSF, this constituted the
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highest category of obesity, described by the American Medical Association (“AMA”) as morbidly

obese or severely obese.

        On September 7, 2012, BNSF declined to hire Harris because of his morbid obesity. BNSF’s

Chief Medical Officer Dr. Michael Jarrard directed that Harris’ offer of employment be withdrawn

“due to significant health and safety risks associated with Class 3 Obesity (BMI of 40 or greater).”

See Docket No. 31-4, p. 11. No non-medical reasons were given for BNSF’s decision. BNSF

generally declines on a temporary basis to hire new applicants for safety-sensitive positions who

have a BMI of 40 or more. See Docket No. 31-3, p. 45. The Conductor Trainee position Harris

applied for is considered a safety-sensitive position by BNSF. See Docket No. 31-3, p. 28. BNSF

has determined that there are significant safety risks associated with a BMI of 40 or greater.

Specifically, BNSF has determined that those with a BMI of 40 or greater are at a substantially

higher risk of developing a number of medical conditions, including extreme daytime sleepiness,

sleep apnea, decreased exercise tolerance, osteoarthritis of the knee and fractures of the ankle, heart

disease, diabetes, coronary artery disease, and hypertension. See Docket no. 31-6, p. 4. Before

applying for the Conductor Trainee position, Harris had no symptoms associated with any of these

medical conditions; instead, he had a demonstrated history of heavy labor work without restriction

or disability.

        The disposition of this motion hinges on whether obesity qualifies as a “disability” under the

ADA, as amended by the ADAAA. This is a question the Eighth Circuit Court of Appeals very

recently answered in the negative. See Morriss v. BNSF Ry. Co., No. 14-3858; 2016 WL 1319407

(affirming summary judgment in BNSF’s favor under nearly identical facts) (April 5, 2016).




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II.    STANDARD OF REVIEW

       Summary judgment is appropriate when the evidence, viewed in a light most favorable to

the non-moving party, indicates that no genuine issues of material fact exist and that the moving

party is entitled to judgment as a matter of law. Davison v. City of Minneapolis, Minn., 490 F.3d

648, 654 (8th Cir. 2007); see Fed. R. Civ. P. 56(a). Summary judgment is not appropriate if there

are factual disputes that may affect the outcome of the case under the applicable substantive law.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). An issue of material fact is genuine if

the evidence would allow a reasonable jury to return a verdict for the non-moving party. Id.

       The Court must inquire whether the evidence presents a sufficient disagreement to require

the submission of the case to a jury or whether the evidence is so one-sided that one party must

prevail as a matter of law. Diesel Mach., Inc. v. B.R. Lee Indus., Inc., 418 F.3d 820, 832 (8th Cir.

2005). The moving party bears the responsibility of informing the court of the basis for the motion

and identifying the portions of the record which demonstrate the absence of a genuine issue of

material fact. Torgerson v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011). The non-

moving party may not rely merely on allegations or denials in its own pleading; rather, its response

must set out specific facts showing a genuine issue for trial. Id.; Fed. R. Civ. P. 56(c)(1). The court

must consider the substantive standard of proof when ruling on a motion for summary judgment.

Anderson, 477 U.S. at 252.



III.   LEGAL DISCUSSION

       The central issue in this case is the purely legal question of whether obesity is an

“impairment” for purposes of coverage under the ADA. The ADA makes it unlawful for a covered



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employer to discriminate against any “qualified individual on the basis of disability.” 42 U.S.C. §

12112(a). To succeed on a disability-discrimination claim under the ADA, a claimant must show

that he was a “qualified individual” who suffered “discrimination” that was based on a “disability”

as each of those terms is defined by the Act. Morriss v. BNSF Ry. Co., 2016 WL 1319407, at p. 2.

Under the ADA, “disability” is defined as “(A) a physical . . . impairment that substantially limits

one or more major life activities . . . (B) a record of such an impairment; or (C) being regarded as

having such an impairment.” 42 U.S.C. § 12102(1)(A)-(C). Harris appears to bring a claim under

both Sections 12102(1)(A) and 12102(1)(C) of the ADA when he claims that a jury could find that

(1) BNSF failed to hire him based on an actual impairment – morbid obesity; and (2) BNSF failed

to hire him because of a perceived impairment. See Docket No. 32, pp. 12, 15. To prevail on either

claim, Harris is required to show that his obesity was an actual or perceived physical impairment.



       A.        ACTUAL PHYSICAL IMPAIRMENT UNDER 42 U.S.C. § 12102(1)(A)

       The Eighth Circuit Court of Appeals recently stated as follows:

       [A]n individual’s weight is generally a physical characteristic that qualifies as a
       physical impairment only if it falls outside the normal range and it occurs as the
       result of a physiological disorder. Both requirements must be satisfied before a
       physical impairment can be found. In other words, even weight outside the normal
       range – no matter how far outside that range – must be the result of an underlying
       physiological disorder to qualify as a physical impairment under the ADA . . . Taken
       as a whole, the relevant statutory and regulatory language makes it clear that for
       obesity to qualify as a physical impairment – and thus a disability – under the ADA,
       it must result from an underlying physiological disorder or condition.

Morriss, at 3.

       The Court has carefully reviewed the record and concludes that Harris has provided no

evidence to prove that his obesity is the result of a physiological condition or disorder. Therefore,



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Harris does not have an actual physical impairment under the ADA and cannot pursue a claim under

42 U.S.C. § 12102(1)(A). Harris’ contention that a jury could find that BNSF failed to hire him

based on an actual impairment – morbid obesity – cannot proceed because morbid obesity, by itself,

does not qualify as a physical impairment under the ADA, as recently articulated by the Eighth

Circuit in Morris.



       B.      REGARDED AS HAVING A PHYSICAL IMPAIRMENT UNDER 42 U.S.C.
               12102(1)(C)

       Harris also contends that BNSF discriminated against him because it perceived or regarded

him as having a physical impairment or disability in violation of 42 U.S.C. §§ 12102(1)(C),

12102(3)(A). Harris contends, and BNSF does not dispute, that BNSF refused to hire him solely

because it considered his obesity (BMI over 40) to present an unacceptably high risk, and that he

would develop certain medical conditions in the future. In order for Harris’ claim under Section

12102(1)(C) of the ADA to proceed, Harris is required to show that BNSF perceived his obesity to

be a condition that met the definition of “physical impairment.”

       The Court has carefully reviewed the record and concludes that Harris has not produced

evidence that BNSF regarded his obesity as an existing physical impairment. To the contrary, the

record reveals that BNSF withdrew its conditional job offer based upon their assessment that

although Harris did not suffer from a physical impairment, there was an unacceptable risk of a future

physical impairment based upon a current physical characteristic (his obesity). See Morriss, at 8

(“the ADA does not prohibit discrimination based on a perception that a physical characteristic . .

. may eventually lead to a physical impairment”). The physical examinations conducted by BNSF

revealed that Harris’ BMI exceeded BNSF’s internal limits for safety-sensitive positions, but those

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examinations did not reveal that Harris had a physical impairment. The record reveals no evidence

that Harris was suffering from any physical impairment when he was reviewed by Dr. Jarrard. In

fact, it is undisputed that Dr. Jarrard made the decision not to approve Harris for employment based

solely on the safety risks associated with Class III obesity. The Court expressly finds that BNSF did

not perceive Harris as having a physical impairment and, therefore, did not violate the ADA by

withdrawing Harris’ conditional job offer. This result is in conformance with the recent decision

of the Eighth Circuit Court of Appeals in Morriss v. BNSF Ry. Co., decided on April 5, 2016.



IV.    CONCLUSION

       The Court has carefully reviewed the entire record, the parties’ submissions, and the record

as a whole. For the reasons set forth above, BNSF’s motion for summary judgment (Docket No. 30)

is GRANTED.



       IT IS SO ORDERED.

       Dated this 8th day of April, 2016.

                                              /s/ Daniel L. Hovland
                                              Daniel L. Hovland, District Judge
                                              United States District Court




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